        Case 4:11-cv-00818-JM Document 126 Filed 02/04/14 Page 1 of 3




                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                         WESTERN DIVISION

TERESA BLOODMAN, PARENT AND NATURAL GUARDIAN OF
JOHN DOE, A MINOR CHILD                  PLAINTIFF

V.                       CASE NUMBER: 4:11-CV-00818-JMM


DR. TOM KIMBRELL, ARKANSAS DEPARTMENT OF EDUCATION,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
DR. JERRY GUESS, SUPERINTENDENT, PULASKI COUNTY SPECIAL
SCHOOL DISTRICT, INDIVIDUALLY NAMED AND OFFICIAL
CAPACITY; DR. TAMEKA BROWN, PRINCIPAL, MAUMELLE HIGH
SCHOOL INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
MICHAEL SHOOK, COACH, MAUMELLE HIGH SCHOOL,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY; GROVER
GARRISON, COACH, MAUMELLE HIGH SCHOOL, INDIVIDUALLY
NAMED AND OFFICIAL CAPACITY; SHERMAN COX, ATHLETIC
DIRECTOR, MAUMELLE HIGH SCHOOL, INDIVIDUALLY NAMED
AND OFFICIAL CAPACITY                        DEFENDANTS

       MOTION FOR EXTENSION OF TIME AND TO AMEND THE
       SCHEDULING ORDER AND OTHER PENDING MATTERS

      Comes now the Plaintiff and moves the court for an extension of time and to

amend order and as the basis for said motion states:


      1. The Scheduling Order entered by this Court mandates that certain

discovery be completed by February 7, 2014.
                                         1
          Case 4:11-cv-00818-JM Document 126 Filed 02/04/14 Page 2 of 3



       2. The undersigned has undertaken in good faith to schedule discovery so as


to comply with said deadline.


       3. On the other hand, the defendants have made a concerted efforts to resist

and delay discovery.


       4. Discovery is appropriate and necessary in this matter in order that this

court have information in order to rule on anticipated motions that will be filed by

the defendants.


       5. Unless the discovery deadlines are amended and unless the defendants

are directed to make themselves available in a timely matter, the plaintiff will

likely be unable to develop her case as contemplated under the Fed. Rules of Civil

Procedure.


       6. This motion is not made for the purpose of delay but is in the best interest

of justice.


       7. That the Plaintiff has attached hereto a memorandum in support of this

motion.


       WHEREFORE the Plaintiff prays that the Motion be granted and for all

other proper and just relief.



                                          2
        Case 4:11-cv-00818-JM Document 126 Filed 02/04/14 Page 3 of 3



                        CERTIFICATE OF SERVICE


I, Teresa Bloodman, hereby certify that on this3rd day of February 2014, I
electronically filed the foregoing with the Clerk of Court using the CM/ECF
System, which will send notification of such filing to all CM/ECF participating
counsel of record listed below; and I further certify that I have mailed the
document, via U.S. Mail, postage prepaid, to all non CM/ECF participants listed
below:


Mr. George J. Bequette, Esq.
425 West Capitol Avenue, Suite 3200
Little Rock, AR 72201
Telephone: (501) 374-1107
Fax: (501) 374-5092
jbequette@bbpalaw.com

Mr. Scott P. Richardson
Assistant Attorney general
323 Center Street, Suite 200
Little Rock, AR 72201-2610
Telephone: (501) 682-1019
Fax: (501) 682-2591
scott.richardson@arkansasag.gov




                                            /s/Teresa Bloodman




                                        3
